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14
15                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
16                           SOUTHERN DIVISION
17
     AXONICS, INC.,                          Case No. 8:22-cv-309
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                 Plaintiff,                  COMPLAINT FOR ANTITRUST,
19
           v.                                LANHAM ACT, AND
20                                           CALIFORNIA BUSINESS AND
     MEDTRONIC, INC.; MEDTRONIC              PROFESSIONS CODE
21
     PUERTO RICO OPERATIONS CO.;             VIOLATIONS
22   MEDTRONIC LOGISTICS, LLC;
     MEDTRONIC USA, INC.                     DEMAND FOR JURY TRIAL
23
24               Defendants.
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 1         Axonics, Inc. (“Axonics”) brings claims against Medtronic, Inc., Medtronic
 2   Puerto Rico Operations Co. (“MPROC”), Medtronic Logistics, LLC (“Medtronic
 3   Logistics”), and Medtronic USA, Inc. (“MDT USA”) (individually and collectively
 4   “Medtronic”) for making false and misleading representations in violation of Section
 5   43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and false advertising under California
 6   Business and Professions Code §§ 17500 et seq. Axonics also brings claims against
 7   Medtronic for Medtronic’s anticompetitive conduct in violation of Section 2 of the
 8   Sherman Act, 15 U.S.C. § 2, and § 17200 et seq. of the California Business and
 9   Professions Code. This Court has jurisdiction under the preceding statutes and at
10   least 28 U.S.C. §§ 1331, 1337, 1338, and 1367, and 15 U.S.C. §§ 1116.
11                                    THE PARTIES
12         1.     Axonics is a Delaware corporation having its principal place of
13   business located at 26 Technology Dr., Irvine, CA 92618.
14         2.     Medtronic, Inc. is a Minnesota corporation having its principal place
15   of business located at 710 Medtronic Parkway, Minneapolis, MN 55432.
16         3.     MPROC is a Cayman Islands corporation, having its principal place
17   of business located at Ceiba Norte Industrial Park, 50 Road 31, Km. 24.4, Juncos,
18   Puerto Rico 00777-3869.
19         4.     Medtronic Logistics is a Minnesota corporation having its principal
20   place of business located at 710 Medtronic Parkway, Minneapolis, MN 55432.
21         5.     MDT USA is a Minnesota corporation having its principal place of
22   business located at 710 Medtronic Parkway, Minneapolis, MN 55432.
23                            JURISDICTION AND VENUE
24         6.     Axonics incorporates the foregoing paragraphs by reference as if fully
25   set forth herein.
26         7.     The Court has subject matter jurisdiction over Axonics’ claims under
27   28 U.S.C. §§ 1331, 1338, and 1367, and 15 U.S.C. §§ 1116 and 1125 related to
28   Medtronic’s false and misleading representations.
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 1            8.    The Court has subject matter jurisdiction over Axonics’ Antitrust
 2   Claims under the antitrust laws including Title 15 of the United States Code
 3   (including 15 U.S.C. § 2), as well as 28 U.S.C. §§ 1331, 1337, and 1367.
 4            9.    The Court has personal jurisdiction over Medtronic at least by virtue
 5   of Medtronic’s filing of a Complaint against Axonics in this Court in Case No.
 6   8:19-cv-02115-DOC-JDE. Medtronic has submitted to the jurisdiction of the
 7   Court. Medtronic has committed acts and/or omissions related to these claims in
 8   this District including as related to Medtronic’s co-pending lawsuit in this district,
 9   Case No. 8:19-cv-02115-DOC-JDE.
10            10.   Venue is proper in this District under 15 U.S.C. § 22 and 28 U.S.C.
11   § 1391. Medtronic meets the requirements for venue under the foregoing statutes,
12   including because on information and belief Medtronic transacts business in this
13   District and a substantial part of the events or omissions giving rise to the claims
14   occurred in this District. For example, Medtronic’s website lists multiple
15   physicians in this District as performing Medtronic Bladder Control Therapy,
16   confirming that Medtronic transacts business in this district and communicates
17   with doctors in this District. Ex. 1, https://www.medtronic.com/us-
18   en/patients/treatments-therapies/bladder-control/considering/find-specialist.html;
19   Ex. 2,
20   https://www.medtronic.com/physicianlocator/googleMaps/showResults?units=mile
21   s&searchBy=city&searchTerm=Santa+Ana%2C+ca&insuranceName=&searchRad
22   ius=25miles&therapySite=www.medtronic.com&physicianIdList=%5B110890%2
23   C+111006%2C+2165%2C+3581%2C+192%2C+3697%2C+2761%2C+3676%2C
24   +1382%5D&plSearchTherapyType=NA&plSearchUserRole=NA&physician=NA
25   &facility=NA&physicianId=NA&physicianName=NA&locationId=NA&location
26   Name=NA&message=refined_search_click_DCR&callDTM=true&refined=true&t
27   herapy=1&findFilter=physician&searchByFilterName=cityAndState&searchByFil
28   terValue=Santa+Ana%2C+ca&zipOrCityRadius=25&search-button=SEARCH.
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 1   Medtronic also lists regional locations in Irvine, California; Santa Ana, California;
 2   Goleta, California; and Northridge, California. Ex. 3,
 3   https://www.medtronic.com/us-en/our-company/locations.html. Medtronic has a
 4   neuromodulation executive team at 5290 California Ave, Irvine, California 92617.
 5   Id. Medtronic, Inc., Medtronic USA, and Medtronic Logistics are also listed as
 6   active entities of record with the California Secretary of State
 7   (https://businesssearch.sos.ca.gov).
 8         11.    Moreover, Medtronic proposed during the February 17, 2022, hearing
 9   in Case No. 8:19-cv-02115-DOC-JDE, which involves the same parties appearing
10   before Judge David Carter in this district, that Axonics should file a separate
11   complaint with the claims asserted herein, and Medtronic would be willing to work
12   cooperatively to make discovery efficient and reduce the burden between the two
13   cases. Medtronic proposed that the parties could address factual issues that overlap,
14   including by coordinating witnesses between the cases. This case proceeding in
15   this district will permit the coordination that Medtronic proposed and further
16   confirms that venue and jurisdiction is proper.
17           MEDTRONIC’S FALSE AND MISLEADING STATEMENTS
18    REGARDING THE AXONICS SACRAL NEUROMODULATION SYSTEM
19         12.    As of 2019, prior to Axonics’ entry, Medtronic had a monopoly—100%
20   market share—in the sacral neuromodulation system (“SNM”) product market.
21         13.    During the time of Medtronic’s SNM product market monopoly, the
22   progress of technology in the market was stagnant. Medtronic received steady
23   recurring revenue for its SNM products without needing to improve them because
24   Medtronic’s SNM products needed to be surgically removed by design whenever a
25   patient with an implant needed to get a full body MRI scan and whenever the non-
26   rechargeable internal battery ran out of power. At best, even if a patient never
27   needed a full-body MRI, anyone with a Medtronic SNM implant would need to
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 1   have surgery to remove the implant and replace it with a new implant
 2   approximately every 4.4 years on average.
 3         14.    This state of affairs was a function of Medtronic’s monopoly power in
 4   the SNM market: Medtronic actually had the resources and technology to make its
 5   SNM implant more compatible with MRI technology so that patients were less
 6   likely to need to have the implant surgically removed to get an MRI and then
 7   surgically reimplanted after the MRI was complete. But, facing no SNM
 8   competition and apparently seeing no reason to include that surgery-avoiding
 9   technology, Medtronic kept that technology out of its SNM products, despite
10   consumer demand.
11         15.    Medtronic’s Intellis™ spinal cord neurostimulation device, released in
12   2017, contained both rechargeable battery technology and full body MRI
13   compatibility under certain conditions. Once again lacking competitive motivation
14   to include that surgery-avoiding technology, Medtronic did not include it in its
15   SNM products.
16         16.    Instead of selling a product that would last longer and be more MRI
17   compatible, Medtronic sold products that, by design, required repeated surgical
18   intervention and replacement. On information and belief, Medtronic’s suppression
19   of expanded MRI-compatibility and recharge capability in the SNM market
20   increased the number of SNM products Medtronic would be likely to sell to a
21   given incontinence patient over the course of that patient’s treatment.
22         17.    When Axonics entered the market with its own SNM technology, its
23   products were both rechargeable and had expanded MRI compatibility, thus
24   promising to dramatically improve the lives of consumers suffering from
25   incontinence in the SNM market and at the same time threatening Medtronic’s
26   longstanding monopoly.
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 1         18.    In response to this new competitive threat, Medtronic actively
 2   explored buying Axonics outright. In 2016, high-level Medtronic executives met
 3   with Axonics executives and stated their desire for Medtronic to acquire Axonics.
 4         19.    Later, Jeff Erb of Medtronic reported to Ray Cohen of Axonics that
 5   Medtronic had been given legal advice by its attorneys that for Medtronic to
 6   purchase Axonics would be in potential violation of the antitrust laws. At the time
 7   in question, around 2016, if Medtronic had acquired Axonics this would have
 8   eliminated a nascent competitor and protected Medtronic’s longstanding monopoly
 9   in the SNM market. Jeff Erb, Medtronic’s Senior Director of Business
10   Development, informed Axonics’ CEO Ray Cohen that based on the legal advice
11   of its antitrust counsel, Medtronic no longer would pursue an acquisition of
12   Axonics.
13         20.    Having first told Axonics that antitrust law prevented Medtronic from
14   acquiring Axonics, Medtronic then orchestrated a course of conduct aimed at
15   achieving by other, illegal means the exclusion of Axonics from the market where
16   Medtronic held a monopoly.
17         21.    Axonics launched its product with a 15-year life in the body in late
18   2019. Medtronic orchestrated a pattern of false statements attempting to attribute to
19   Axonics’ products the very shortcoming of Medtronic’s products that enabled
20   Axonics to threaten Medtronic’s longstanding monopoly: the need for explant
21   surgery.
22         22.    Medtronic engaged in a campaign of false and misleading statements
23   designed to undermine consumer confidence in the Axonics products and
24   specifically to propagate the false belief that Axonics’ products suffered from
25   problems that would likely cause them to need to be explanted before they reached
26   the end of their 15-year-life.
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 1         A.     Medtronic’s First Quarter 2020 Earnings Call
 2         23.    On August 25, 2020, Medtronic Chief Executive Officer Geoff
 3   Martha stated on Medtronic’s Q1 2020 earnings call that “we’re seeing cases
 4   where our competitor’s device is being explanted and replaced by [Medtronic
 5   InterStim] Micro.”
 6   https://filecache.investorroom.com/mr5ir_medtronic/126/Medtronic%20Comment
 7   ary-FY21Q1-FINAL.pdf at 2. When Medtronic was asked by a third-party analyst
 8   at Wells Fargo about this statement, Medtronic stated that it was aware of five
 9   explants over a specific three-week period and that one reason for the explants was
10   that the recharge experience with Axonics is not as good as the recharge
11   experience with Medtronic InterStim Micro. On information and belief, these
12   statements and communications are false and/or misleading; they were specifically
13   tailored to try to persuade consumers, including doctors and patients, that use of
14   Axonics’ product would result in otherwise avoidable explant surgery. When this
15   statement was made, Medtronic’s new rechargeable product had been on the
16   market for only three weeks. Axonics is not aware of any explantations of the
17   Axonics System meeting these descriptions in this time frame.
18         24.    Medtronic’s false and/or misleading statements regarding explantation
19   have a tendency to deceive, mislead, and confuse, and have deceived, misled, and
20   confused, a substantial portion of the intended audience for these statements. For
21   example, Mr. Martha’s false and misleading statements led members of the analyst
22   community to inquire as to whether and why these explants had occurred.
23         B.     Medtronic’s Institutional Investor And Analyst Day Presentation
24         25.    On October 14, 2020, at Medtronic’s Institutional Investor & Analyst
25   Day on October 14, 2020, Medtronic employee Brooke Story, the President of
26   Medtronic’s Pelvic Health business, told attendees that the “Axonics battery will
27   function like today’s cell phone batteries and lose the ability to hold a charge over
28   time. In addition, when discharged to 0, the Axonics system has a battery death
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 1   risk that Medtronic addressed with our Overdrive technology.” The slides shown
 2   by Brooke Story (images below) were labeled as relating to the “InterStim Micro
 3   System,” and said that Axonics’ “[c]apacity fades over time.” The slides also
 4   stated that, for Axonics, there was a “[r]isk of permanent damage if fully
 5   discharged” and that Axonics would be “[u]nable to recharge.”
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 1         26.    These statements are false and misleading: The Axonics System
 2   contains hardware and software protections that prevent the battery from being
 3   overdischarged and impacting performance; it does not meaningfully lose the ability
 4   to hold a charge over time, nor is there a “battery death risk.” On information and
 5   belief, these statements were made for the purpose of deceiving consumers into
 6   believing that use of the Axonics products would result in otherwise avoidable
 7   explant surgery.
 8         27.    A Medtronic sales representative wrote to a physician on September
 9   28, 2021, “So the question for your AXNX rep is ‘if a patient runs their battery to
10   the point it can no longer deliver stimulation and it goes into hibernate, how much
11   longer can that patient’s device last before it reaches Zero
12   Volts/Overdischarge?’ . . . the implications are serious for your patients.” The
13   Medtronic representative also made the following statements. “Traditional lithium
14   ion batteries have limitations and it’s one of the reason [sic] why rechargeable
15   systems are explanted at twice the rate of recharge-free systems,” misleadingly
16   suggesting that the Axonics System would need to be explanted at a high rate due
17   to purported battery issues. “The fact is that if the Axonics battery goes to zero
18   volts it will have significant and noticeable damage. . . . If patients could choose
19   knowing that they could damage their battery if they leave it uncharged for long
20   periods of time (e.g., weeks) or one that was not affected by the same scenario,
21   what would they choose?” These statements are false and misleading and on
22   information and belief were made for the purpose of convincing consumers that
23   using the Axonics product would result in otherwise avoidable explant surgery.
24         C.     Medtronic’s “Not All Batteries Are Created Equal” Document
25         28.    On information and belief, by September 2021, Medtronic had created
26   and widely distributed a document, entitled “Not All Batteries Are Created Equal”
27   (the “Medtronic Battery Document”) (attached as Exhibit 4) that compares
28   Medtronic’s battery technology with Axonics’ battery technology and contains
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 1    several false, misleading, and deceptive statements, which further the purpose of
 2    deceiving consumers into believing that using the Axonics product would result in
 3    otherwise avoidable explant surgery.
 4          29.    Medtronic arranged to have copies of the Medtronic Battery
 5    Document sent to all attendees of the conference of the American Urogynecologic
 6    Society (“AUGS”) in Phoenix, AZ from October 13-15, 2021 (the “AUGS
 7    Conference”). Medtronic confirmed that it sent this material to all attendees in a
 8    co-pending case in this district. See Case No. 8:19-cv-02115-DOC-JDE, Dkt. No.
 9    88 at 19. The recipients of the document at the AUGS Conference included
10    numerous actual and potential Axonics customers, including many key opinion
11    leader surgeons who can be influential in driving customer choice. In addition, on
12    information and belief, Medtronic representatives have distributed the document
13    (or a similar document) to numerous actual and potential Axonics customers.
14          30.    As shown in the excerpt below, the Medtronic Battery Document
15    states that “HEAD-TO-HEAD BATTERY TESTING PROVES MEDTRONIC
16    OUTPERFORMS AXONICS,” while depicting the Axonics batteries as part of the
17    Axonics System. This statement is false and misleading, because Medtronic had
18    the batteries removed from the Axonics System and conducted the testing on
19    standalone batteries. As such, Medtronic’s testing did not account for device level
20    features and protections implemented by Axonics that prevent battery
21    overdischarge. Medtronic’s testing data has no relevance to doctors and patients as
22    to the actual performance of the Axonics System battery when it is implanted and
23    used as part of the Axonics System. Moreover, that same document confirms that
24    Medtronic knows that the Axonics System contains such hardware and software
25    protections that prevent the battery from overdischarging and impacting
26    performance, and thus knows that its statements are false. The Medtronic
27    document stated: “This brochure only covers aspects related to the batteries of the
28    InterStim™ Micro and Axonics® neurostimulators. Other aspects or components
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 1    of the neurostimulators that affect device performance or overdischarge are not
 2    covered in this brochure, including software features to slow overdischarge that
 3    are associated with the Axonics® device.” (emphasis added). First, considering
 4    battery performance apart from protections in the product itself is false and
 5    misleading, including because Medtronic is incorrectly saying that there is some
 6    relevance in considering battery performance apart from device protections.
 7    Medtronic is creating baseless concerns regarding the protections in place in the
 8    devices. Second, Medtronic’s statements regarding the products themselves are
 9    false and misleading, including because Medtronic is stating the batteries in
10    products pose the risks falsely and misleadingly described.
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25          31.    The Medtronic Battery Document further states, under a picture of the
26    entire Axonics implant, “SIGNIFICANT BATTERY PERFORMANCE
27    DAMAGE IF OVERDISCHARGED.” Similarly, the Medtronic Battery
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 1    Document states that “Axonics® lithium-ion battery cells have significant
 2    performance damage if overdischarged.” These statements are false and
 3    misleading. The Axonics device contains hardware and software protections that
 4    prevent the battery from being overdischarged and impacting performance.
 5    Medtronic’s testing was performed on batteries that were removed from the
 6    devices, meaning that the testing did not account for device level features and
 7    protections such as Axonics overdischarge protection. But Medtronic nevertheless
 8    told customers and potential customers that there were concerns about Axonics’
 9    products—which means that Medtronic was stating that notwithstanding the device
10    level features there was still cause for concern. That is false and misleading.
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            32.    In the Medtronic Battery Document, Medtronic relies on the irrelevant
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      testing data to suggest that patients should worry about overdischarge with the
13
      Axonics device. Medtronic states that “The negative impact from overdischarge is
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      permanent and not reversible for the Axonics® battery. This creates an increased
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      recharge burden for patients,” and “No patient should worry about damage
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      caused by overdischarge.” Ex. 4 (Medtronic Battery Document at 2) (emphasis
17
      added). These statements are false and misleading, particularly when read in
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      conjunction with statements in the Medtronic Battery Document suggesting that
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      the testing results apply directly to the Axonics System as implanted – i.e., in the
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      presence of the hardware and software protections put in place by Axonics, - such
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      as “[o]ver the device lifetime, there are many scenarios that may lead to devices
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      not being recharged,” including “forgetting to recharge the battery.” Ex. 4
23
      (Medtronic Battery Document at 2) (emphasis altered from original).
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25          D.     Medtronic’s AUGS Symposium Presentation
26          33.    Medtronic representatives have repeatedly and consistently made
27    similar false and misleading statements to customers and potential customers about
28    the performance of the Axonics System rechargeable battery. For example, at the
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 1    same AUGS Conference where Medtronic distributed hundreds of copies of the
 2    false and misleading Medtronic Battery Document, Medtronic employees and paid
 3    third-party consultant(s) repeated and expanded upon the same false and
 4    misleading information.
 5          34.    During the Medtronic breakfast symposium at the AUGS Conference,
 6    Medtronic presented false and misleading information about the Axonics battery to
 7    numerous actual and potential Axonics customers. Dr. Kevin Benson, a third-party
 8    Medtronic-paid physician consultant, started the discussion on the Axonics battery
 9    by stating “[The battery testing data] really is enlightening and I think that for me,
10    it really opened my eyes to the differences in batteries.”
11          35.    During the symposium, Marisa Caldwell, Ph.D., a Medtronic
12    employee and battery scientist, presented testing data generated by a Medtronic
13    vendor purporting to show that the Medtronic battery is superior to the Axonics
14    battery. Medtronic performed this testing on Axonics batteries as a
15    “subcomponent,” in isolation from the overall Axonics System, so the
16    overdischarge protection features of the Axonics System could not prevent
17    overdischarge in that disconnected battery. Medtronic’s hired testers then forced
18    the battery to overdischarge repeatedly – something that would never happen in a
19    clinical setting because in a clinical setting the Axonics mechanisms that prevent
20    overdischarge could not and would not be bypassed.
21          36.    Presenting the data from this completely fabricated scenario that
22    purportedly showed damage to the Axonics battery’s ability to recharge, Ms.
23    Caldwell’s presentation stated that “Axonics Li-ion cells completely fail within a
24    cumulative ~1mo at 0V (zero volts),” suggesting that a patient who did not
25    recharge their Axonics System for a cumulative period amounting to a single
26    month, could experience irreversible damage to the battery such that it would no
27    longer charge. Ms. Caldwell stated that “what concerns me as a scientist and an
28    engineer” is that “people should not have to worry, ‘oh am I going to damage my
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 1    sacral neuromodulator because I’m not recharging’ . . . . A patient should not
 2    have to worry about a device because they are dealing and coping with life.”
 3    These statements by Ms. Caldwell are false and misleading. The Axonics System
 4    contains hardware and software protections that prevent the battery from being
 5    overdischarged and impacting performance, so the artificial test conditions that
 6    purportedly created a battery issue could not occur with an implanted Axonics
 7    System, but Medtronic nevertheless is stating that there is such a concern in the
 8    Axonics products. In short, no patient needs to worry about the battery in an
 9    Axonics product, but Medtronic is falsely and misleadingly saying they should.
10          37.     Following Ms. Caldwell’s presentation, speaking at Medtronic’s
11    behest, third-party Dr. Kevin Benson continued to rely on the battery testing data
12    to raise concerns about using the Axonics device on patients. He told physicians in
13    attendance:
14          This is probably the most impactful, “a-ha” moment for me when I
            think about the type of device I want to use. . . . The idea that you
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            would have an independent lab prove this out, for me was really eye
16          opening. Because, if you think about 15 years with the device, the
            probability they’re going to have a month or more of cumulative time
17
            with the device off . . . it’s almost a guaranteed fact. … It is perhaps a
18          determinant in what you choose. … So the idea that cumulatively at
            one month of time off for the device that it’s had irreversible
19
            damage and it has lost its efficacy, is a big deal. My concern about
20          placing a device for anybody, if it’s going to be a 15-year device,
            those situations are going to come up more regularly than I think any
21
            of us can anticipate. So to me, it really gives me piece of mind to
22          know that I don’t have to worry about what scenario is gonna play
23          out, but . . . the patient is still going to be protected and have a
            functioning device.
24
            38.     While Dr. Benson made this statement, Medtronic showed a slide with
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      the tagline “No patient should have to worry about damage due to overdischarge”
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      and kept the slide on the screen for several minutes. That slide is shown below.
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            39.     These statements are false and misleading. The Axonics System
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      contains hardware and software protections that prevent the battery from being
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      overdischarged and impacting performance, and the testing performed by
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      Medtronic under artificial test conditions created results which could not occur
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      with an implanted Axonics System. Medtronic’s statements that there was
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      nevertheless a concern with overdischarge in Axonics devices were false and
16
      misleading. Moreover, Medtronic’s statement that a patient’s failure to recharge
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      the Axonics System battery for a month, either all at one time, or cumulatively,
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      would cause “irreversible damage” to the battery, is false.
19
20          40.    Medtronic knows that these statements are false and misleading,
21    because Medtronic knows that the Axonics System contains hardware and software
22    protections that prevent the battery from being overdischarged and impacting
23    performance. The “fine print” in the Medtronic Battery Document entitled “All
24    Batteries Are Created Equal” and the Medtronic breakfast symposium slide deck
25    states that “[t]his information only covers aspects of the batteries of the InterStim
26    Micro and Axonics neurostimulators. Other aspects or components of the
27    neurostimulation that affect device performance or overdischarge are not covered
28    by this information, including software features to slow overdischarge that are
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 1    associated with the Axonics device.” Similarly, the Medtronic Battery Document
 2    states that the “testing was designed to examine true battery behavior, beyond
 3    device level features. . . .” First, considering battery performance apart from
 4    protections in the product itself is false and misleading, including because
 5    Medtronic is incorrectly saying that there is some relevance in considering battery
 6    performance apart from device protections. Medtronic is creating baseless
 7    concerns regarding the protections in place in the devices. Second, Medtronic’s
 8    statements regarding the products themselves are false and misleading, including
 9    because Medtronic is stating the batteries in products pose the risks described
10    when they do not.
11          41.    Medtronic’s false and misleading statements about the Axonics
12    System battery have a tendency to deceive, mislead, and confuse, and have
13    deceived, misled, and confused, a substantial portion of the intended audience for
14    these statements. For example, following Medtronic’s distribution of the
15    Medtronic Battery Document and presentation at the AUGS conference, multiple
16    physicians came to the Axonics booth at the conference to inquire whether the
17    Axonics System battery was at risk of overdischarge. Similarly, a physician in
18    attendance at Medtronic’s presentation at the AUGS conference asked Medtronic’s
19    Ms. Caldwell whether doctors need to worry about patients needing an explant if
20    they do not charge their implant.
21          42.    Medtronic sales representatives have privately made the same false
22    and misleading statements to doctors. For example, one email from a Medtronic
23    sales representative to a physician in October 2021, apparently referring to the
24    “Not All Batteries Are Created Equal” materials, falsely stated “[i]ndependent,
25    head to head data shows the Medtronic InterStim Micro, with Overdrive
26    Technology, shows superior performance vs. Axonics” and that “Medtronic
27    Outperforms Axonics. Period.” As described above, the “Not All Batteries Are
28    Created Equal” materials themselves show that such statements about the
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 1    performance of Medtronic’s and Axonics’ devices are false: “This brochure only
 2    covers aspects related to the batteries of the InterStim™ Micro and Axonics®
 3    neurostimulators. Other aspects or components of the neurostimulators that affect
 4    device performance or overdischarge are not covered in this brochure, including
 5    software features to slow overdischarge that are associated with the Axonics®
 6    device.” (Emphasis added.) The October 2021 email goes on to falsely state that
 7    patient use of the Axonics device would result in harmful overdischarge, again
 8    apparently relying on the “Not All Batteries Are Created Equal” materials:
 9    “Overdischarge – if a regularly scheduled charging cycle(s) are missed and the
10    battery is left at 0 volts, after only 1 month, the Axonics battery will completely
11    fail (see page #2, right diagram).” The email continued to make false statements
12    about the Axonics device: “In short, the InterStim Micro cannot be compated [sic,
13    compared] to the Axonics device.”
14          43.    As another example, a different Medtronic sales representative wrote
15    to a physician in September 2021, “So the question for your AXNX rep is ‘if a
16    patient runs their battery to the point it can no longer deliver stimulation and it
17    goes into hibernate, how much longer can that patient’s device last before it
18    reaches Zero Volts/Overdischarge?’ . . . the implications are serious for your
19    patients.” The Medtronic representative went on to state, “Traditional lithium ion
20    batteries have limitations and it’s one of the reasons why rechargeable systems are
21    explanted at twice the rate of recharge-free systems.” Medtronic misleadingly
22    suggests that the Axonics System would need to be explanted at a high rate due to
23    purported battery issues. “The fact is that if the Axonics battery goes to zero volts
24    it will have significant and noticeable damage. . . . If patients could choose
25    knowing that they could damage their battery if they leave it uncharged for long
26    periods of time (e.g., weeks) or one that was not affected by the same scenario,
27    what would they choose?” These statements are false and misleading for the
28    reasons described above.
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 1          44.     On information and belief, Medtronic has also falsely stated that
 2    Axonics devices have actually been explanted due to battery overdischarge.
 3          E.      Medtronic’s Campaign Of False And Misleading Statements
 4          45.     On information and belief, the foregoing false statements were made
 5    for the specific purpose of deceiving consumers into the false belief that using
 6    Axonics products would result in otherwise avoidable explant surgeries due to
 7    irreversible battery failure.
 8          46.     Each of the foregoing false and misleading statements was made by
 9    Medtronic as a commercial advertisement in the course of its competition with
10    Axonics in the SNM market, for the purposes of influencing physicians and other
11    customers to purchase its InterStim SNM products rather than the Axonics system,
12    and each of the foregoing false and misleading statements was disseminated
13    broadly to the purchasing public.
14          47.     Medtronic’s false and misleading statements at the AUGS Conference
15    in October 2021, and in the Medtronic Battery Document, were commercial
16    advertisements in the course of its competition with Axonics in the SNM market,
17    for the purposes of influencing physicians and other customers to purchase its
18    InterStim SNM products rather than the Axonics system, and each of the foregoing
19    false and misleading statements was disseminated broadly to the purchasing public.
20    The audience for these false and misleading statements was physicians who make
21    purchasing decisions between Medtronic and Axonics products, and the false and
22    misleading statements were made or distributed to large numbers of these
23    physicians.
24          48.     Medtronic’s false and misleading statements at Medtronic’s
25    Institutional Investor & Analyst Day on October 14, 2020, and those made at
26    earnings calls and to market analysts, were commercial advertisements in the
27    course of its competition with Axonics in the SNM market, for the purposes of
28    influencing physicians and other customers to purchase its InterStim SNM
                                              17
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 1    products rather than the Axonics system. The audience for these false and
 2    misleading statements was physicians and other members of the public who make
 3    purchase decisions between Medtronic and Axonics products, and who would be
 4    interested in, and have access to, public statements about the respective qualities of
 5    these products made either directly by Medtronic or by third parties at the
 6    inducement of Medtronic. The false and misleading statements were made widely
 7    available to the public, including in the transcripts of earnings calls and in analyst
 8    statements – which, on information and belief, included large numbers of
 9    physicians.
10          49.     Medtronic’s false and misleading statements made directly to
11    physicians in emails and other direct communications were commercial
12    advertisements in the course of its competition with Axonics in the SNM market,
13    for the purposes of influencing physicians and other customers to purchase its
14    InterStim SNM products rather than the Axonics system. Each of these false and
15    misleading statements was disseminated broadly to the purchasing public, given
16    the limited number of purchasers in the market. In any event, on information and
17    belief, Medtronic representatives made these direct communications to large
18    numbers of individual purchasers, thereby disseminating them broadly. The
19    audience for these false and misleading statements was physicians and other
20    members of the public who make purchasing decisions between Medtronic and
21    Axonics products.
22          50.     On information and belief, Medtronic deliberately and systematically
23    disseminated this false information for the purpose of striking fear into doctors and
24    patients alike and specifically wielding the threat of physical bodily harm being
25    inflicted upon incontinence patients who chose an Axonics implant. Medtronic
26    propagated a pattern of false and misleading statements designed to convince
27    doctors and consumers that the result of using the Axonics products would be
28    undesired explant surgery that could be avoided by using a Medtronic implant
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 1    instead. Medtronic’s illegal and anticompetitive campaign to disseminate false
 2    information regarding Axonics’ products in order to frighten Axonics’ actual and
 3    potential customers is part of an overall scheme and course of conduct aimed at
 4    excluding Axonics from the SNM market.
 5          51.    Medtronic did not limit itself to having its own personnel make these
 6    statements, but further, on information and belief, caused and attempted to cause
 7    third parties capable of projecting the appearance of neutral objectivity to make the
 8    above false statements.
 9          52.    For example, as described above, Dr. Benson spoke during the
10    Medtronic AUGS presentation to create the false concern about irreversible
11    overdischarge damage when Axonics’ devices are implanted in patients.
12          53.    For another example, on information and belief, Medtronic’s
13    communications with Wells Fargo, as described above, were made for the purpose
14    of inducing Wells Fargo, a third party, to make statements that were false but that
15    bore the indicia of neutral objectivity, with the intent of amplifying Medtronic’s
16    exclusionary and anticompetitive impact. Medtronic’s efforts to induce third
17    parties to repeat false and misleading information also constitutes a part of
18    Medtronic’s overall scheme and course of conduct aimed at excluding Axonics
19    from the SNM market.
20          54.    Medtronic’s pattern of false and misleading statements concerning
21    Axonics’ products and specifically the likelihood that they would need to be
22    explanted constitutes exclusionary conduct.
23          55.    As explained herein, Medtronic’s statements were clearly false. On
24    information and belief, no patients have needed to have Axonics products
25    explanted and replaced with Medtronic products due to dissatisfaction with the
26    recharge process. Axonics’ products are specifically designed so that
27    overdischarge does not present a threat or risk of battery failure or explantation. As
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 1    explained herein, Medtronic’s statements alleged herein were specifically designed
 2    to create false beliefs in the minds of those who heard or read them.
 3          56.    Medtronic’s campaign of false and misleading information is clearly
 4    material as it presents as if it were true a risk that Axonics customers will need to
 5    undergo undesired explant surgery as a result of choosing to be implanted with an
 6    Axonics product. Medtronic’s false statements are clearly material because they
 7    spread false beliefs about Axonics’ products that any reasonable person would
 8    consider important in deciding which SNM product to choose in a way that can
 9    materially injure Axonics’ ability to provide its SNM products.
10          57.    Medtronic’s statements are clearly likely to induce reasonable
11    reliance. As a supplier of medical devices, many doctors and patients alike rely on
12    Medtronic to be truthful in its descriptions of medical devices and the risks and
13    benefits that they present. Many doctors and patients would not readily expect that
14    a company that doctors and patients must be able to trust would invent outright
15    falsehoods about the subject matter of their products and competing human
16    implants designed to treat a chronic condition. Moreover, Medtronic’s statements
17    are especially likely to induce reasonable reliance when the statements are made by
18    third parties with the appearance of neutral objectivity as described above.
19          58.    On information and belief, Medtronic’s statements were made to
20    buyers without knowledge of the subject matter: specifically, Medtronic’s
21    statements were made to investors and analysts, doctors, and the public at large.
22    Medtronic’s statements contained information, such as a specific number of
23    explants and the reasons for such alleged explants, that very few people would
24    have the ready wherewithal to test. Investors, analysts, and patients frequently lack
25    the background and information to reliably assess the truth or falsity of seemingly
26    technically based false statements about SNM devices. Moreover, on information
27    and belief, physicians, even physicians familiar with SNM products, frequently
28    lack the specific scientific expertise—e.g., in battery technology, wireless
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 1    charging, or software, to name a few, and scientific research methods related to
 2    risk assessment—and also lack the factual information necessary to reliably assess
 3    the truth or falsity of Medtronic’s false and misleading statements. Indeed,
 4    physicians rely on Medtronic and other medical device companies to provide
 5    truthful and accurate information about the risks of using medical devices because
 6    the medical device companies themselves are in a unique position with access to
 7    extensive factual information and resources for assessing that information that
 8    neither physicians nor patients have the ability to access or assess. The types of
 9    statements Medtronic made as part of its campaign of deception are exactly the
10    kinds of statements going to exactly the kind of subject matter where the
11    physicians, patients, and others who heard them lack sufficient knowledge to not
12    be deceived or misled.
13          59.    Medtronic’s campaign of statements made by Medtronic and by third
14    parties with the appearance of neutral objectivity, which were meant to disseminate
15    the false information that Axonics products were likely to be explanted or were in
16    fact being explanted, when they were not, for reasons that were false, misleading,
17    and aimed at the heart of Axonics’ products, continued for prolonged periods of
18    time. On information and belief, Medtronic began disseminating false information
19    about Axonics’ products at least as early as August 25, 2020, and has continued to
20    do so through at least October 2021 and later. On information and belief
21    Medtronic’s campaign of false and misleading statements has not ceased as of the
22    filing of this Complaint.
23          60.    To the extent that any of Medtronic’s false and misleading statements
24    are found not to be literally false, each is nonetheless highly misleading, and has a
25    tendency to deceive, mislead, and confuse, and has deceived, misled, and confused,
26    a substantial portion of the intended audience for these statements. For example,
27    following Medtronic’s distribution of the Medtronic Battery Document and
28    presentation at the AUGS conference, multiple physicians came to the Axonics
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 1    booth at the conference to inquire whether the Axonics System battery was at risk
 2    of overdischarge. Similarly, a physician in attendance at Medtronic’s presentation
 3    at the AUGS conference asked Medtronic’s Ms. Caldwell whether doctors need to
 4    worry about patients needing an explant if they do not charge their implant.
 5          61.    Medtronic’s false and misleading statements are not readily
 6    susceptible of neutralization or other offset by Axonics. On information and belief,
 7    for any given false statement Medtronic makes about Axonics, it is more likely that
 8    the statement will not get back to Axonics than that it will. The fact that certain of
 9    Medtronic’s falsehoods either have been public or have otherwise become known
10    to Axonics shows that the real volume of such false statements is very likely far
11    greater. Medtronic representatives have met with individual doctors spreading their
12    misinformation. It is customary in the medical device industry for sales
13    representatives to meet on an individual and private basis with physicians who
14    make purchasing decisions and it is common for such relationships to be long-
15    standing and difficult to penetrate. It can be professionally costly for physicians to
16    disclose information they are provided in such meetings even if the veracity of
17    such information is suspect. There is a significant asymmetry therefore between
18    the high ability to spread misinformation on the one hand and the curtailed ability
19    to limit its harmful effects on the other. The examples of Medtronic email
20    communications that Axonics is aware of (as described above) confirm that such
21    communications are occurring. It is unlikely that Axonics would be able to
22    discover the full extent of conversations occurring in doctors’ offices around the
23    country. Indeed, even when Medtronic has publicly disseminated its false
24    statements, Axonics has not, as a practical matter, despite great effort, been able to
25    rebut such claims with every person receiving them.
26          62.    Even if Axonics knew the full extent of Medtronic’s statements and
27    had the complete information necessary to try to neutralize the harmful effects,
28    such neutralization is not feasible because Medtronic’s statements are so
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 1    threatening that a consumer is unlikely to invest the time and energy to try to
 2    assess whether the claims are true when the path of least resistance is to simply
 3    switch to another product. Once a person makes a claim that a medical device will
 4    result in otherwise avoidable surgery needing to be performed on the patient, the
 5    damage is done. Further, the appearance of neutral objectivity on the part of certain
 6    of those responsible for disseminating the false statements makes it even less likely
 7    that Axonics would be able to neutralize or offset the false or misleading
 8    statements.
 9          63.     Axonics has spent substantial time, energy, and resources attempting
10    to neutralize Medtronic’s false statements. Given the longstanding and pervasive
11    nature of Medtronic’s campaign of misinformation, on information and belief,
12    Axonics is not able to identify many such statements and is unable to effectively
13    neutralize them both because of the inherently unfairly prejudicial nature of the
14    assertions and because of the impossibility of keeping pace with Medtronic’s
15    network of employees and spokespeople’s interactions with consumers.
16          64.     Medtronic’s actions as detailed above were made with the specific
17    intent to protect its longstanding monopoly in the SNM market against entry by
18    Axonics and to establish monopoly in the SNM market by excluding Axonics. If
19    Medtronic could succeed in persuading consumers that the use of Axonics’ product
20    is likely to result in the physical bodily harm of explant surgery, whether because
21    of the purported recharge experience, because of purported battery damage, or any
22    other false and misleading reason, then such a belief would more likely than not
23    prevent Axonics from competing in the market. Medtronic has sought to achieve
24    that very result through means that do not rely on a superior product or historical
25    accident but a deliberate, carefully orchestrated, false, misleading, and illegal
26    campaign of misinformation and deception that has not only targeted Axonics itself
27    but the entire population of consumers who suffer from the pain of incontinence
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 1    and whom Medtronic seeks to deny the benefits of a competitive market for
 2    treatment.
 3                                   ANTITRUST CLAIMS
 4                               INTERSTATE COMMERCE
 5          65.     The products at issue in Axonics’ antitrust claims are sold in interstate
 6    commerce and Medtronic’s unlawful activities alleged in these antitrust claims
 7    have occurred in, and have substantial effect upon, interstate commerce.
 8                               NATURE OF THE CLAIMS
 9          66.     These antitrust claims that Axonics brings against Medtronic relate to
10    Medtronic’s illegal attempts to maintain or establish a monopoly in the market for
11    sacral neuromodulation therapies for incontinence.
12    Medtronic’s conduct violates the antitrust laws as follows:
13                a) Medtronic’s acts constituting monopoly maintenance in the sacral
14                  neuromodulation (“SNM”) product market in connection with
15                  Axonics’ entry into that market violate Section 2 of the Sherman Act,
16                  15 U.S.C. § 2.
17                b) Medtronic’s attempts to monopolize the SNM product market through
18                  outright exclusion or anticompetitive attacks on Axonics violate
19                  Section 2 of the Sherman Act, 15 U.S.C. § 2.
20                c) Medtronic’s conduct as alleged herein also constitutes unfair
21                  competition under § 17200 et seq. of the California Business and
22                  Professions Code.
23          67.     Only injunctive relief can fully remedy the anticompetitive harm
24    suffered both by Axonics and by the affected consumers. Medtronic must be
25    enjoined to cease and desist all false, misleading, deceptive, threatening, and any
26    other anticompetitive conduct that forms the basis of Medtronic’s monopoly
27    maintenance and attempted monopolization of the SNM product market at issue in
28    the present case. Axonics also seeks damages for Medtronic’s unlawful conduct.
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 1    Axonics is entitled to damages for the time, effort, and expense, including direct
 2    expenses and opportunity costs, involved in attempting to counteract Medtronic’s
 3    anticompetitive conduct. Axonics is further entitled to damages due to the lost
 4    sales and suppressed revenue and revenue growth that have been and continue to
 5    be caused by Medtronic’s anticompetitive conduct. These damages include lost
 6    profits and business opportunities as well as harm to reputation and forgone
 7    research and development opportunities.
 8                            THE SNM PRODUCT MARKET
 9       A. SNM Products
10          68.    Approximately 20 million adults in the United States suffer from
11    bowel or fecal incontinence, or accidental bowel leakage, which is a condition in
12    which people get sudden urges to pass stool and experience leakage of stool before
13    they can get to a restroom. These symptoms can significantly disrupt the daily
14    activities of those suffering with them.
15          69.    Approximately 50 million people in the United States suffer from
16    overactive bladder, which is a condition in which people have a frequent and
17    urgent need to empty their bladders, and it can result in unintentional urine loss.
18    These symptoms can also significantly disrupt the daily activities of those suffering
19    with them.
20          70.    SNM is a therapy that can treat either or both bowel incontinence and
21    overactive bladder. SNM provides gentle stimulation to the “sacral” nerves that
22    communicate between the brain and the bladder and bowel. That stimulation helps
23    restores normal communication between the brain and the bladder and bowel,
24    which can result in symptom improvement.
25          71.    Today, commercial SNM systems are sold by only two manufacturers:
26    Axonics and Medtronic. The systems for both companies include an implantable
27    device and a “lead” that is placed near the sacral nerve and delivers electrical
28    pulses through electrodes located near the end of the lead. The implant is placed in
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 1    a patient through a minimally invasive surgical procedure. The systems for both
 2    companies also include external remote control devices enabling the patient to
 3    control the treatment. Both Axonics and Medtronic provide rechargeable implants
 4    with external devices to charge the implants. Medtronic also offers a shorter-lived
 5    non-rechargeable SNM product, which, prior to Axonics’ entry in the market, was
 6    the only option.
 7          72.    Axonics is a pioneering innovator of sacral neuromodulation therapies
 8    that can restore normal control of the bladder and bowel to patients suffering from
 9    incontinence. The Axonics Sacral Neuromodulation Therapy system (the
10    “Axonics System”), comprising a rechargeable neurostimulator implant that
11    delivers electrical stimulation directly to the sacral nerve, a recharge-free patient
12    remote control, and a wireless charging system, has revolutionized the field of
13    sacral neuromodulation for bladder and bowel control.
14          73.    Before Axonics launched its SNM products, the only widely available
15    neurostimulation therapy option to treat patients with incontinence was
16    Medtronic’s InterStim product, a device with significant drawbacks for doctors and
17    patients. Among other issues, InterStim lacked a rechargeable battery, so that the
18    device both had a shorter useful life in patients—once the battery died, the device
19    had to be explanted and replaced with a new implant. Additionally, patients with a
20    Medtronic InterStim implanted could not safely have a full-body MRI exam; the
21    device first had to be explanted from the body. If a patient wished to continue
22    SNM therapy, they would need to undergo another surgical procedure to implant
23    another device.
24          74.    The innovative Axonics System was a dramatic technological and
25    usability advance over the legacy Medtronic product. Because the battery is
26    rechargeable, it is substantially smaller than the Medtronic legacy product, and
27    provides physicians more options for placement of the device. The rechargeable
28    battery also increases the useful life of the device; it can provide therapy for at
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 1    least 15 years, in contrast to an average of 4.4 years for the Medtronic legacy
 2    product. The wireless charging system can be used by patients to charge the
 3    implant battery simply by holding it against the implant site. Moreover, the
 4    Axonics System provides patients with a small and intuitive remote control that is
 5    easy to understand and use. And the Axonics System was the first on the market to
 6    allow patients with a sacral neuromodulation implant to safely have a full-body
 7    MRI exam, without having to explant the device in advance.
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      https://www.axonics.com/patients/about-axonics-therapy/axonics-therapy.
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            75.    In response to the introduction of the Axonics System, and the
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      positive response from doctors and patients, Medtronic took numerous steps to
22
      protect its market position. Among other things, Medtronic copied several of the
23
      innovative features of the Axonics System, including introducing a new sacral
24
      neuromodulation therapy device with a rechargeable battery and expanded MRI
25
      compatibility. Medtronic also orchestrated and carried out a campaign of making
26
      false statements about the Axonics System, including false and misleading
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      statements about the safety and reliability of the Axonics System’s rechargeable
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 1    battery and the prevalence and likelihood of patients needing to have the Axonics
 2    System explanted.
 3       B. No Suitable Substitutes For SNM For Treatment Of Bowel Incontinence
 4           76.   Treatment options for patients with bowel incontinence are limited.
 5    Initial treatments include, for example, diet changes, and exercises.
 6           77.   If these initial treatments fail, doctors and patients may try an
 7    advanced therapy. Doctors and patients have only one minimally invasive
 8    treatment option that addresses communication between the brain and the bowel:
 9    SNM.
10           78.   On information and belief, other advanced therapies are not
11    reasonable economic substitutes for SNM. For example, invasive surgeries, such as
12    anal sphincter repair, carry their own unique risks as compared to the minimally
13    invasive SNM treatment. Invasive surgeries also may not focus on the brain-
14    bowel/bladder communication that may be causing symptoms, and instead focus
15    on physical weaknesses of the anal sphincter. A hypothetical monopolist of SNM
16    could profitably impose a small but significant and non-transitory increase in the
17    price (“SSNIP”) of SNM above the price in a competitive market.
18           79.   The initial treatments for bowel incontinence are not economic
19    substitutes for SNM. While doctors and patients will typically try an initial
20    treatment first, patients pursuing an advanced treatment are those for whom the
21    initial treatments have failed. Advanced treatment patients and their treating
22    doctors would not switch to one of the initial treatments (which failed) in response
23    to a small but significant and non-transitory increase in the price of SNM.
24       C. No Suitable Substitutes To SNM For Overactive Bladder
25           80.   Treatment options for patients with overactive bladder are limited.
26    Initial treatments include, for example, lifestyle changes (such as diet or pelvic
27    floor exercises), bladder training, and medications.
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 1          81.    If these initial treatments fail, doctors and patients may try an
 2    advanced therapy. Doctors and patients have only one minimally invasive
 3    treatment option that addresses communication between the brain and the bowel
 4    and bladder: SNM.
 5          82.    On information and belief, other advanced therapies are not
 6    reasonable economic substitutes for SNM. For example, Botox® injections carry
 7    their own risks, such as the potential for urinary retention, which requires self-
 8    catheterization and creates a risk of bladder infections. Botox also requires
 9    repeated procedures to receive injections. Unlike the implantable SNM system that
10    improves brain-bowel/bladder communication, Botox inhibits the transmission of
11    nerve signals. Thus, a hypothetical monopolist of SNM could profitably impose a
12    SSNIP of SNM above the price in a competitive market. Patients and doctors
13    would not switch from a SNM treatment to an invasive surgery in response. SNM
14    and Botox have different prices, further confirming that they are not reasonable
15    economic substitutes.
16          83.    On information and belief, another advanced therapy, for example,
17    that may be alleged is the tibial nerve stimulation (PTNS), such as the Medtronic
18    Nuro System, that provides percutaneous tibial neuromodulation. Unlike the
19    implantable SNM system, PTNS is used in a treatment performed in a doctor’s
20    office weekly for the first 12 weeks (and then with increased time between
21    treatments) in which a needle is inserted into a patient’s leg and an external pulse
22    generator is used to generate pulses. PTNS has not been shown to have similar
23    efficacy to SNM. This treatment that requires ongoing doctor’s office treatments is
24    not a reasonable economic substitute for SNM. Thus, a hypothetical monopolist of
25    SNM could profitably impose a SSNIP of SNM above the price in a competitive
26    market. Patients and doctors would not switch from the implant-based SNM
27    treatment to a repeated treatment in a doctor’s office with PTNS. Instead,
28    Medtronic says that this product is “an alternative for patients whose symptoms
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 1    have previously failed to respond to medications, but who are not a good candidate
 2    for sacral neuromodulation [] therapy,” i.e., the products are aimed at different
 3    categories of patents. https://www.medtronic.com/us-en/healthcare-
 4    professionals/therapies-procedures/urology/percutaneous-tibial-
 5    neuromodulation/education-training/diagnosis-treatment.html. SNM and the PTNS
 6    have different prices, further confirming that they are not reasonable economic
 7    substitutes.
 8          84.      The initial treatments for overactive bladder are not economic
 9    substitutes for SNM. While doctors and patients will typically try an initial
10    treatment first, patients pursuing an advanced treatment are those for whom the
11    initial treatments have failed. Advanced treatment patients and their treating
12    doctors would not switch to one of the initial treatments (which failed) in response
13    to a small but significant and non-transitory increase in the price of SNM.
14       D. SNM Product Market
15          85.      There is a market for SNM products. There are no economic
16    substitutes for SNM for either bowel incontinence or overactive bladder. A
17    hypothetical monopolist of SNM could profitably impose a SSNIP of SNM above
18    the price in a competitive market. Patients and doctors would not switch from the
19    SNM products to any other products.
20          86.      SNM products treat either bowel incontinence or overactive bladder in
21    the same manner, and can treat both at the same time. These SNM products are all
22    in the same market. Nevertheless, allegations pleaded herein are unchanged if there
23    are separate markets for SNM when it is used to treat bowel incontinence,
24    overactive bladder, or both. There is not an economic substitute for SNM whether
25    it is being used for bowel incontinence, overactive bladder, or both.
26          87.      The market for SNM products is at least nationwide.
27          88.      Medtronic and Axonics both compete in the SNM market.
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 1          89.    On information and belief, Medtronic had a complete monopoly
 2    before Axonics entered the market and it has at all times since then had a market
 3    share of at least around 80% percent. On information and belief, Medtronic
 4    controls at least around 80% percent of the SNM market today. On information
 5    and belief, Axonics has approximately 20% market share while Medtronic has the
 6    remaining approximately 80%. On information and belief, Axonics is Medtronic’s
 7    only other meaningful competitor in the SNM market. Prior to Axonics’ entry into
 8    the market, Medtronic controlled 100% of the SNM market.
 9          90.    There has been at every relevant time and there remains today a
10    dangerous probability that Medtronic’s anticompetitive conduct will result in a
11    complete monopoly. Medtronic has market power and monopoly power. If
12    Axonics is excluded from the SNM market as a result of Medtronic’s illegal
13    conduct, then based on Medtronic’s and Axonics’ current market shares, on
14    information and belief, estimated to be around 20% for Axonics and around 80%
15    for Medtronic respectively, Medtronic will have successfully completely
16    monopolized the SNM market once again.
17          91.    Medtronic sought and continues to seek to exclude Axonics from the
18    SNM market through anticompetitive and illegal means as alleged herein.
19        MEDTRONIC’S MONOPOLY MAINTENANCE AND ATTEMPTED
20                    MONOPOLIZATION OF THE SNM MARKET
21          92.    Axonics hereby re-alleges and incorporates by reference the
22    allegations set forth in paragraphs 1 through 91above.
23          93.    As alleged herein in the detailed allegations of the above-incorporated
24    paragraphs, Medtronic has engaged in and continues to engage in exclusionary
25    conduct that constitutes monopoly maintenance and/or attempted monopolization
26    of the SNM market. Such conduct includes, without limitation, Medtronic’s
27    deliberate and systematic campaign of false and misleading information aimed at
28    creating the false belief and the fear that use of Axonics devices will result in
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 1    otherwise avoidable explant surgeries. This campaign includes without limitation
 2    false and misleading statements regarding the recharge experience, false and
 3    misleading statements regarding battery overdischarge, false and misleading
 4    statements about explantation, and such other actions and statements as discovery
 5    will bring to light. Medtronic’s actions also include inducing third parties with the
 6    cloak of neutral objectivity to spread Medtronic’s false and misleading
 7    information. Medtronic’s actions as alleged herein form part of a pattern, a course
 8    of conduct, and a scheme, that is anticompetitive, illegal, and aimed at protecting
 9    an existing monopoly and/or establishing monopoly power in the SNM market.
10          94.    In addition to the facts alleged above, on information and belief,
11    Medtronic has taken additional actions that constitute part of its systematic,
12    anticompetitive, and exclusionary course of conduct in the SNM market. On
13    information and belief, such additional actions that form part of Medtronic’s same
14    overall anticompetitive scheme will become known through discovery in this
15    matter.
16                               HARM TO COMPETITION
17          95.    Through its exclusionary conduct as alleged herein, and on
18    information and belief additional like exclusionary conduct that will become
19    known through discovery in this case, Medtronic has harmed competition,
20    continues to harm competition, and threatens future harm to competition if its
21    anticompetitive conduct is not enjoined.
22          96.    As alleged herein, Medtronic had a monopoly in the SNM market
23    prior to Axonics’ entry into that market. Since that time Medtronic’s market share
24    has at least remained around 80%.
25          97.    Medtronic’s actions as alleged herein have been aimed at maintaining
26    its high market share and reestablishing its complete monopoly through the
27    deliberate and systematic dissemination of false and misleading information about
28    Axonics’ products.
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 1          98.    Medtronic’s actions harm competition by threatening the ability of its
 2    only competitor to operate in the same market and help ensure that there is
 3    competition for technological advances, high quality products, and affordability to
 4    consumers of SNM products.
 5          99.    Medtronic’s actions have impaired consumers’ ability to form truthful
 6    and accurate beliefs about competing products in the market and have thus
 7    facilitated Medtronic’s maintenance of its high market share through
 8    misinformation and deception rather than through competition, higher quality,
 9    business acumen, or historical accident.
10          100. Consumers in the SNM market suffered under Medtronic’s monopoly
11    for years. On information and belief, Medtronic maintained a higher market share
12    and provided fewer technological benefits than would have been the case in the
13    face of competition. On information and belief, Medtronic withheld existing
14    technology from the SNM market that would have reduced the number of
15    replacement surgeries its captive customers would have needed to suffer through.
16    If Medtronic is allowed to exclude Axonics from the market the most plausible
17    inference is that Medtronic’s monopolistic pricing and suppression of new
18    technology that would materially improve the lives of consumers in the SNM
19    market will continue unabated.
20          101. Moreover, Medtronic’s actions have harmed competition by reducing
21    the number of choices and slowing the availability of choices in the SNM market.
22    Consumers inherently benefit when medical device companies are forced to
23    compete. This is illustrated by the fact that when Axonics entered the market,
24    Medtronic rushed to bring products with recharge capability and expanded MRI
25    compatibility to market as quickly as it could after years of withholding those very
26    technologies from the consumers who needed them.
27          102. Medtronic’s conduct also harms competition by threatening to
28    eliminate a key benefit of that competition in the medical device space. As a
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 1    provider of medical implants, Medtronic is specifically aware of the ever-present
 2    and potentially devastating effects of product recalls. Indeed, if Medtronic
 3    successfully excludes Axonics from the SNM market this subjects consumers to
 4    the risk that if Medtronic’s products are recalled, consumers will have no choice of
 5    SNM products at all. This risk is not academic or theoretical. Medtronic’s
 6    rechargeable SNM product wireless recharger unit was already subject to a recall
 7    in late November 2021. See
 8    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfRES/res.cfm?id=190094.
 9          103. Further, consumers have been harmed and are threatened with
10    continued harm as a direct, proximate, and foreseeable result of Medtronic’s
11    exclusionary conduct. Medtronic’s conduct has already harmed consumers who
12    suffer from chronic urinary and/or fecal incontinence. Such consumers are faced
13    with reduced availability of healthy competition in a market for products that can
14    provide relief from incontinence. Consumers have also been harmed, on
15    information and belief, by the false and misleading information that Medtronic has
16    spread regarding Axonics’ SNM products both because it has the potential to divert
17    consumers from seeking help with the most suitable product, and because it has the
18    potential to dissuade them from seeking help through SNM therapy at all, having
19    undermined consumer confidence in the overall technology of sacral
20    neuromodulation as a treatment for fecal and urinary incontinence. Consumers are
21    also harmed by Axonics, the only material competitor with Medtronic in the SNM
22    product market, having its resources diverted from research and development,
23    physician education, and other efforts that benefit consumers suffering from
24    incontinence, to attempting to counteract Medtronic’s wrongful, unfair, and
25    anticompetitive conduct as detailed above. But for Medtronic’s illegal activities
26    Axonics would have been even better able to aid consumers suffering from
27    incontinence than it has already been. Moreover, consumers are threatened with
28    severe harm if Medtronic is enabled to reinstate its complete monopoly in the SNM
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 1    product market including at least because it has already been shown historically
 2    that when Medtronic holds a complete monopoly in the SNM product market it
 3    suppresses technological advancement in the space, even to the extent of
 4    withholding from the market technology that Medtronic already has and could
 5    readily adapt to SNM, and competition in the SNM product market is the only
 6    thing preventing Medtronic from once again suppressing the advancement of key
 7    technologies in the market and once again depriving consumers of the many
 8    benefits that come from more than one company competing to provide the best
 9    SNM products to consumers who will benefit from them.
10          104. Consumers in the SNM market have been and will be harmed by
11    Medtronic’s efforts to exclude competition. Medtronic’s actions threaten higher
12    prices, slower pace of innovation, reduction of quality and features of products,
13    restriction of consumer choices, and increased risk that suitable products will not
14    be available.
15                         ANTITRUST INJURY TO AXONICS
16          105. Medtronic’s anticompetitive conduct as alleged herein has directly
17    harmed Axonics. The injury to Axonics flows from the anticompetitive nature of
18    Medtronic’s conduct and not from any legitimate or lawful competition by
19    Medtronic.
20          106. Axonics sells products in the SNM market where Medtronic has
21    harmed, continues to harm, and threatens future harm to competition through the
22    actions alleged above and other actions that on information and belief will become
23    known through discovery in this matter.
24          107. Medtronic’s deliberate and systematic campaign of false and
25    misleading statements about Axonics and its products is designed to instill in
26    consumers the false belief that the use of Axonics’ products will result in otherwise
27    avoidable explant surgeries, such as due to the recharge experience or battery
28    overdischarge.
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 1           108. Axonics’ antitrust injury as a direct and proximate cause of
 2    Medtronic’s anticompetitive conduct as alleged herein includes but is not limited to
 3    actual and prospective harm to Axonics’ reputation for providing safe and reliable
 4    medical implant devices, harm to Axonics’ business due to reduced consumer
 5    confidence in SNM products provided by Axonics and SNM more generally,
 6    suppression of Axonics’ entry into the SNM market, suppression of Axonics’
 7    revenue growth in the SNM product market and lost revenue in that market,
 8    diversion and suppression of Axonics’ research and development efforts to attempt
 9    to combat the effects of Medtronic’s exclusionary conduct on Axonics’ business
10    and reputation, and diverted company resources from other projects and
11    opportunities, lost business opportunities, as well as being excluded or being
12    threatened with exclusion from the SNM product market.
13           109. None of these injuries results from any alleged superiority of any
14    Medtronic product, nor from any legitimate effect of Medtronic’s pre-existing
15    market position, reputation, business acumen, or other legitimate article of
16    competition. Rather, these injuries flow directly from that which makes the
17    conduct unlawful: Medtronic’s deliberate and systematic campaign of false
18    statements about Axonics and its products that were crafted for the purpose of
19    excluding Axonics from the market and foreclosing competition in the SNM
20    market, as well as the overall course of conduct and scheme that such statements
21    are a part of. This is the type of injury that the antitrust laws were intended to
22    prevent.
23                                          COUNT I
24                        (Violation of Section 43 of the Lanham Act)
25           110. Axonics repeats and realleges the allegations in paragraphs 1–109 as if
26    fully set forth herein.
27           111. Medtronic’s statements concerning the Axonics System, examples of
28    which have been described herein, are false and misleading.
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 1          112. Medtronic’s false and misleading statements have been made in
 2    commercial promotion and/or advertising of its own competing products.
 3          113. Medtronic’s false and misleading statements misrepresent the nature,
 4    characteristics, and qualities of the Axonics System.
 5          114. Medtronic’s false and misleading statements are likely to cause
 6    confusion as to the Axonics System, including its qualities, performance, technical
 7    characteristics, and suitability for patient use.
 8          115. Medtronic’s false and misleading statements have deceived, and/or
 9    have the tendency to deceive, a substantial portion of the intended audience for
10    these representations, including physicians, patients, and other actual or potential
11    customers for Medtronic’s and Axonics’ products.
12          116. Medtronic’s false and misleading statements are material, in that they
13    are calculated to, and likely to, influence purchasing decisions by actual and
14    potential customers.
15          117. Medtronic’s products, including the products that compete with the
16    Axonics System that are the subject of Medtronic’s false and misleading
17    representations, are provided for, and have traveled in, interstate commerce.
18          118. Medtronic’s false and misleading representations violate Section 43(a)
19    of the Lanham Act, 15 U.S.C. § 1125(a).
20          119. Medtronic has unfairly profited from its false and misleading
21    representations.
22          120. Axonics has been damaged by Medtronic’s false and misleading
23    representations.
24          121. Medtronic’s acts are willful, and Axonics is entitled to treble damages
25    under 15 U.S.C. § 1117 and permanent injunctive relief under 15 U.S.C. § 1116.
26          122. This is an exceptional case, and Axonics is eligible for an award of
27    reasonable attorneys’ fees under 15 U.S.C. § 1117. Medtronic’s acts in violation
28    of the Lanham Act have caused, and, unless restrained and enjoined, will continue
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 1    to cause, irreparable injury and damage to Axonics for which there is no adequate
 2    remedy at law.
 3                                           COUNT II
 4            (FALSE ADVERTISING UNDER CALIFORNIA BUSINESS &
 5                        PROFESSIONS CODE §§ 17500 ET SEQ.)
 6           123. Axonics repeats and realleges the allegations in paragraphs 1–122 as
 7    if fully set forth herein.
 8           124. Medtronic’s statements concerning the Axonics System, examples of
 9    which have been described herein, are false and misleading.
10           125. Medtronic’s false and misleading statements have been made in
11    commercial promotion and/or advertising of its own competing products.
12           126. Medtronic knew, or by the exercise of reasonable care should have
13    known, that its statements concerning the Axonics System were untrue or
14    misleading.
15           127. Medtronic’s false and misleading statements have deceived, and/or
16    have the tendency to deceive, a substantial portion of the intended audience for
17    these representations, including physicians, patients, and other actual or potential
18    customers for Medtronic’s and Axonics’ products.
19           128. Axonics has been damaged by Medtronic’s false and misleading
20    representations.
21           129. Medtronic’s false and misleading representations constitute false
22    advertising under California Business and Professions Code §§ 17500 et seq.
23           130. Unless Medtronic is enjoined from further acts of false advertising,
24    Axonics will continue to suffer economic harm as a result of Medtronic’s ongoing
25    conduct.
26                                          COUNT III
27     (Monopoly Maintenance of SNM Product Market in Violation of Section 2 of
28                                 the Sherman Act, 15 U.S.C. § 2)
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 1          131. Axonics hereby re-alleges and incorporates by reference the
 2    allegations set forth in paragraphs 1 through 130 above.
 3          132. Medtronic possessed and possesses monopoly power in the SNM
 4    product market.
 5          133. Medtronic willfully acted and acts to maintain its monopoly power in
 6    the SNM product market, not as a consequence of its superior products, business
 7    acumen, or historic accident. Medtronic’s anticompetitive and exclusionary
 8    conduct in the furtherance of its efforts to maintain its monopoly include at least
 9    the following and such other anticompetitive conduct as discovery in this matter
10    will reveal: Medtronic has orchestrated a systematic campaign of false and
11    misleading information concerning Axonics’ products designed to deceive
12    consumers into believing that using Axonics’ products will result in otherwise
13    avoidable explant surgeries. Further, Medtronic has caused third parties to present
14    such false and misleading information in the cloak of objective neutrality and
15    expertise. Medtronic took these actions for the purpose of maintaining or
16    establishing monopoly in the SNM market not through competition but through
17    harm to competition and with the specific aim of suppressing and excluding lawful
18    competition. Medtronic’s illegal scheme and systematic course of anticompetitive
19    conduct included the false and misleading statements alleged herein but also
20    Medtronic’s pursuit of, for example, injunctive relief in copending Case No. 8:19-
21    cv-02115-DOC-JDE, which is causally connected to Medtronic’s false and
22    misleading statements, which relate directly to the public interest inquiry for
23    injunctive relief and whether Medtronic has come to equity with clean hands.
24          134. As a direct and proximate result of Medtronic’s conduct, Axonics has
25    suffered irreparable harm including: actual and prospective harm to Axonics’
26    reputation, harm to Axonics’ business due to reduced consumer confidence in
27    SNM products provided by Axonics and SNM more generally, suppression of
28    Axonics’ entry into the SNM market, suppression of Axonics’ revenue growth in
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 1    the SNM product market and loss of revenue in that market, diversion and
 2    suppression of Axonics’ research and development efforts and diverted company
 3    resources from other projects and opportunities, as well as being excluded or being
 4    threatened with exclusion from the SNM product market.
 5          135. Axonics and others will continue to suffer such irreparable harm
 6    absent appropriate injunctive relief.
 7          136. Axonics has also suffered monetary harm through its loss of business
 8    opportunities, diversion of business resources to attempting to neutralize
 9    Medtronic’s anticompetitive acts, and flowing from and forming part but not all of
10    the harm described above.
11                                            COUNT IV
12     (Attempted Monopolization of SNM Product Market in Violation of Section 2
13                            of the Sherman Act, 15 U.S.C. § 2)
14          137. Axonics hereby re-alleges and incorporates by reference the
15    allegations set forth in paragraphs 1 through 136 above.
16          138. Medtronic has engaged in predatory or anticompetitive conduct,
17    including at least the following and such other anticompetitive conduct as
18    discovery in this matter will reveal: Medtronic has orchestrated a systematic
19    campaign of false and misleading information concerning Axonics’ products
20    designed to deceive consumers into believing that using Axonics’ products will
21    result in otherwise avoidable explant surgeries, including for example due to
22    recharge experience, or battery overdischarge. Further, Medtronic has caused third
23    parties to present such false and misleading information in the cloak of objective
24    neutrality and expertise. Medtronic took these actions for the purpose of
25    maintaining or establishing monopoly in the SNM market not through competition
26    but through harm to competition and with the specific aim of suppressing and
27    excluding lawful competition. Medtronic’s illegal scheme and systematic course of
28    anticompetitive conduct included not only the false and misleading statements
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 1    alleged herein but also efforts to propagate the same such misstatements in the
 2    guise of objective neutrality of third parties, as well as such other actions that form
 3    a part of the same scheme that discovery will reveal.
 4          139. Medtronic had a specific intent to monopolize the SNM product
 5    market.
 6          140. Through its conduct, Medtronic has created a dangerous probability of
 7    achieving monopoly power in the SNM product market.
 8          141. As a direct and proximate result of Medtronic’s conduct, Axonics has
 9    suffered irreparable harm including: actual and prospective harm to Axonics’
10    reputation, harm to Axonics’ business due to reduced consumer confidence in
11    SNM products provided by Axonics and SNM more generally, suppression of
12    Axonics’ entry into the SNM market, suppression of Axonics’ revenue growth in
13    the SNM product market and lost revenue in that market, diversion and
14    suppression of Axonics’ research and development efforts and diverted company
15    resources from other projects and opportunities, as well as being excluded or being
16    threatened with exclusion from the SNM product market.
17          142. Axonics and others will continue to suffer such irreparable harm
18    absent appropriate injunctive relief.
19          143. Axonics has also suffered monetary harm through its loss of business
20    opportunities, diversion of business resources to attempting to neutralize
21    Medtronic’s anticompetitive acts, and flowing from and forming part but not all of
22    the harm described above.
23                                            COUNT V
24     (Unfair Competition in Violation of California Business & Professions Code §
25                                        17200 et seq.)
26          144. Axonics hereby re-alleges and incorporates by reference the
27    allegations set forth in paragraphs 1 through 143 above.
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                                                 41
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 1          145. Medtronic has engaged in Unfair Competition under § 17200 et seq.
 2    of the California Business and Professions Code (UCL) by engaging in unlawful
 3    and unfair conduct. Medtronic’s unlawful and unfair conduct has harmed
 4    competition in California and elsewhere and threatens significant harm to
 5    competition in the future. Medtronic’s conduct is the direct and proximate cause of
 6    injury to California consumers and to Axonics.
 7          146. Medtronic has engaged in unlawful conduct in violation of the UCL,
 8    including based on the conduct alleged above that also violates Section 2 of the
 9    Sherman Act. Medtronic’s unfair conduct threatens an incipient and continuing
10    violation of the antitrust laws and also violates the policy and spirit underlying
11    those laws because the effects of Medtronic’s conduct are comparable to or the
12    same as violations of those laws, or because Medtronic’s conduct otherwise
13    significantly harms competition. Medtronic’s unfair competition includes multiple
14    acts any one of which alone, and any combination of which, is sufficient to show a
15    violation of the UCL including at least the following actions taken with the intent
16    to and as part of an overall course of conduct and scheme whose purpose was to
17    exclude competition from the SNM product market, to maintain or establish
18    monopoly power in that market, and to significantly reduce competition in that
19    market:
20              a) A systematic and deliberate campaign of false and misleading
21                 information for the purpose of and with the intent to maintain its
22                 monopoly in the SNM product market, for the purpose of deceiving
23                 California consumers.
24              b) A systematic and deliberate campaign of false and misleading
25                 information for the purpose of and with the intent to obtain a monopoly
26                 in the SNM product market, for the purpose of deceiving California
27                 consumers.
28              c) Causing third parties to present such false and misleading information
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 1                    in the cloak of objective neutrality and expertise, for the purpose of
 2                    deceiving California consumers.
 3                 d) Forcing Axonics to divert resources, time, and attention to attempting
 4                    to neutralize Medtronic’s above alleged conduct, wasting resources that
 5                    Axonics would otherwise use to provide better products and services to
 6                    consumers, including California consumers.
 7              147. Medtronic’s campaign of false and misleading statements about the
 8    Axonics System constitutes acts of unlawful, unfair, and fraudulent business
 9    conduct within the meaning of California Business and Professions Code §§ 17200
10    et seq.
11              148. These acts also constitute violations of the UCL (and antitrust laws
12    and the Lanham Act) and as alleged herein and at the very least significantly
13    threaten or harm competition in the SNM product market.
14              149. These acts have caused harm to competition in at least the ways
15    alleged in the foregoing paragraphs.
16              150. Axonics has suffered harm as a direct, proximate, and foreseeable
17    result of Medtronic’s actions alleged herein. Such harm includes but is not limited
18    to actual and prospective economic harm, harm to Axonics’ reputation, harm to
19    Axonics’ business due to reduced consumer confidence in SNM products provided
20    by Axonics and SNM more generally, suppression of Axonics’ entry into the SNM
21    market, suppression of Axonics’ revenue growth in the SNM product market and
22    lost revenue in that market, diversion and suppression of Axonics’ research and
23    development efforts and diverted company resources from other projects and
24    opportunities, as well as being excluded or being threatened with exclusion from
25    the SNM product market.
26              151. California consumers have been harmed and are threatened with
27    continued harm as a direct, proximate, and foreseeable result of Medtronic’s
28    unlawful and unfair actions. Medtronic’s unlawful and unfair conduct has already
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 1    harmed consumers in California who suffer from chronic urinary and/or fecal
 2    incontinence. Such consumers are faced with reduced availability of healthy
 3    competition in a highly consolidated market for technology that can provide relief
 4    from incontinence. California consumers have also been harmed, on information
 5    and belief, by the false and misleading information that Medtronic has spread
 6    regarding Axonics’ SNM products both because it has the potential to divert
 7    consumers from seeking help with the most suitable product, and because it has the
 8    potential to dissuade them from seeking help through SNM therapy at all, having
 9    undermined consumer confidence in the overall technology of sacral
10    neuromodulation as a treatment for fecal and urinary incontinence. California
11    consumers are also harmed by Axonics, the only material competitor with
12    Medtronic in the SNM product market, having its resources diverted from research
13    and development, physician education, and other efforts that benefit California
14    consumers suffering from incontinence, to attempting to counteract Medtronic’s
15    wrongful, unfair, and anticompetitive conduct as detailed above. But for
16    Medtronic’s illegal activities Axonics would have been even better able to aid
17    California consumers suffering from incontinence than it has already been.
18    Moreover, California consumers are threatened with severe harm if Medtronic is
19    enabled to reinstate its complete monopoly in the SNM product market including
20    at least because it has already been shown historically that when Medtronic holds a
21    monopoly in the SNM product market it suppresses technological advancement in
22    the space, even to the extent of withholding from the market technology that
23    Medtronic already has and could readily adapt to SNM, and competition in the
24    SNM product market is the only thing preventing Medtronic from once again
25    suppressing the advancement of key technologies in the market and once again
26    depriving consumers of the many benefits that come from more than one company
27    competing to provide the best SNM products to consumers who will benefit from
28    them.
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 1          152. Axonics seeks an Order of this Court permanently enjoining
 2    Medtronic’s unlawful and unfair business practices as alleged herein and any other
 3    relief the Court deems just and proper.
 4          153. Axonics and others will continue to suffer such irreparable harm
 5    absent appropriate injunctive relief.
 6          154. Unless Medtronic is enjoined from further acts of unfair competition,
 7    Axonics will continue to suffer economic harm as a result of Medtronic’s ongoing
 8    conduct.
 9                                  PRAYER FOR RELIEF
10          Wherefore, Axonics prays for findings, relief, and judgment as follows:
11          A.     Judgment that Medtronic’s false or misleading representations alleged
12    above violate Section 43(a) of the Lanham Act;
13          B.     Award Axonics all of Medtronic’s profits pursuant to § 1117(a)(1) of
14    the Lanham Act;
15          C.     Award Axonics damages in an amount adequate to compensate
16    Axonics for Medtronic’s false and misleading representations pursuant to §
17    1117(a)(2) of the Lanham Act;
18          D.     Award Axonics pre-judgment and post-judgment interest to the fullest
19    extent allowable by law;
20          E.     Treble Axonics’ damages caused by Medtronic’s violations of the
21    Lanham Act pursuant to 15 U.S.C. § 1117;
22          F.     Enter an order finding this to be an exceptional case and awarding
23    Axonics its reasonable attorneys’ fees under 15 U.S.C. § 1117;
24          G.     Enter an order permanently enjoining Medtronic and its respective
25    officers, directors, shareholders, agents, servants, employees, attorneys, all parent,
26    subsidiary and affiliate corporations, their successors in interest and assignees, and
27    all other entities and individuals acting in concert with or on behalf of Medtronic,
28    from making false and misleading representations about Axonics’ commercial
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 1    activities or business relationships in violation of the Lanham Act;
 2          H.     Declare that Medtronic’s conduct as alleged herein is anticompetitive
 3    and unlawful;
 4          I.     Declare that Medtronic has unlawfully maintained its monopoly and
 5    attempted to monopolize the SNM market;
 6          J.     Declare that Medtronic’s anticompetitive conduct as alleged herein
 7    constitutes unfair competition under the UCL;
 8          K.     Enter a permanent injunction requiring Medtronic to cease and desist
 9    all exclusionary conduct in the SNM market;
10          L.     Enter a permanent injunction requiring Medtronic to cease all
11    activities constituting unfair competition under the UCL;
12          M.     Award Axonics damages (including lost profits) in an amount to be
13    determined, trebled to the extent permitted by the antitrust laws;
14          N.     That Axonics be awarded their costs, disbursements (including expert
15    fees), and reasonable attorney fees incurred in this action; and
16          O.     That Axonics be granted any other and further relief as the Court
17    deems just and proper.
18                              DEMAND FOR JURY TRIAL
19          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Axonics
20    demands a jury trial on all issues so triable.
21
22
23    Dated: February 25, 2022                 Respectfully submitted,
24
25                                             /s/ Matthew D. Powers
26
                                               Matthew D. Powers (Bar No. 104795)
27                                             William P. Nelson (Bar No. 196091)
28                                             Gina Cremona (Bar No. 305392)
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